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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

CRYSTAL HELBIG, Individually and, %

As Mother and Next Friend of

P.B., ef al., #
Plaintiffs, *

Vv. *

UNIVERSITY OF MARYLAND ST. JOSEPH *

MEDICAL CENTER,
* CASE NO.: 1:17-cv-02528-JMC
Defendant.
*
* * * * * * * * * * * * *

MOTION TO COMPEL FINK AND CARNEY’S COMPLIANCE WITH SUBPOENA
AND COURT ORDER AND REQUEST FOR FEES AND COSTS

Defendant, University of Maryland St. Joseph Medical Center (“St. Joseph”), by and
through its counsel, Neal M. Brown, Christina N. Billiet, Kaitlan M. Skrainar, and Waranch and
Brown, LLC, hereby submits this Motion to Compel Fink and Carney Reporting and Video
Services’ (“Fink and Carney”) Compliance with Subpoena and Court Order, and Request for Fees
and Costs pursuant to Rule 45(g) of the Federal Rules of Civil Procedure, and states as follows!:

1. On May 15, 2018, St. Joseph served a valid subpoena on Fink and Carney requiring
it to produce certain documentation relevant to the litigation in the captioned case. On July 9,
2018, following motions practice’, the Honorable Katherine B. Forrest of the Federal District
Court for the Southern District of New York (“SDNY”) ordered Fink and Carney to “provide a

list, based upon information recently obtained from a centralized server or database of each

 

' Upon transfer from the SDNY, this matter was assigned to Judge Russell under a different case number (1:18-cv-
-02642-GLR).Pursuant-to-a-conference-yesterday_-with Judge Coulson, we-are filing this Motion-underthe above
case number, and to his attention.

? Fink and Carney filed a Motion to Quash.
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instance in which Dr. Gubernick was deposed for the past three years,” including the name of the
case, date of the deposition and name of attending counsel. See Exhibit 1, July 9" SDNY Order.

2. Notably, Fink and Carney did not request that this matter be transferred to
Maryland, did not retain Plaintiffs’ counsel to represent it? and did not file a motion for
reconsideration of Judge Forrest’s Order (pursuant to the Local Rules issued by the
Southern District of New York and the District of Maryland, any motion for reconsideration
must have been filed within 14 days of Judge Forrest’s Order).

3. As a professional courtesy, on July 20, 2018, counsel for St. Joseph agreed to an
extension to August 20, 2018, for Fink and Carney to comply with the July 9" Order. See Exhibit
2, Correspondence dated July 20, 2018.

4. On August 16, 2018 — four days before Fink and Carney was to comply with the
July 9" Order — Judge Forrest ordered transfer of the matters pending in the SDNY to the District
of Maryland and terminated the SDNY case. See Exhibit 3, August 16" Order. The transfer was
requested by Plaintiffs’ counsel‘ for reasons unrelated to Fink and Carney (their request for transfer
was related to Dr. Gubernick matters). The transfer did not obviate Judge Forrest’s prior order
regarding Fink and Carney. See Exhibit 4, August 23" Order.

5. But for St. Joseph’s professional courtesy, Fink and Carney would have produced
the requested documents in compliance with Judge Forrest’s Order prior to her Order transferring

this matter to Maryland.

 

3 Fink and Carney is represented by New York counsel.
* The Arfaa Law Group.

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6. Unfortunately, Fink and Carney has now refused to comply with the SDNY Order
and St. Joseph’s requests for same. See Exhibit 5, Email Correspondence dated August 20, 2018.
On August 28, 2018, St. Joseph’s counsel advised Fink and Carney’s counsel that St. Joseph
intended to file this Motion. See Exhibit 6, Correspondence dated August 28, 2018. A copy of
this Motion was provided to Fink and Carney’s counsel in advance of filing and Fink and Carney
still refused to produce the documents in accordance with the July 9" Order. See id.
7, Rule 45(g) addresses the failure to comply with a subpoena:
(g) Contempt. The court for the district where compliance is required--and
also, after a motion is transferred, the issuing court--may hold in contempt
a person who, having been served, fails without adequate excuse to obey
the subpoena or an order related to it.
Fed. R. Civ. P. 45. Fink and Carney has provided no excuse for its blatant disregard of the valid
subpoena issued upon it by St. Joseph and Judge Forrest’s July 9"" Order related to that subpoena.
8. For these reasons, St. Joseph seeks an Order compelling Fink and Carney’s
compliance with the SDNY July 9"" Order and the attorney’s fees and costs associated with St.
Joseph’s efforts to seek compliance with the July 9" Order.
9, Moreover, any decision this Court makes regarding Dr. Gubernick and the

applicability of the 20% Rule is immaterial to the enforceability of Judge Forrest’s Order. The

documents to be produced by Fink and Carney are relevant to Dr. Gubernick’s credibility and bias.

WHEREFORE, for all the reasons above, Defendant, University of Maryland St. Joseph
Medical Center, respectfully requests that this Honorable Court enter an Order compelling Fink
and Carney Reporting and Video Services’ compliance the Order issued by the Honorable

Katherine B. Forrest of the Federal District Court for the Southern District of New York on July
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9, 2018, awarding attorney’s fees and costs, and any other relief as this Court deems just and

proper under the circumstances.

Respectfully submitted,

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CERTIFICATE OF SERVICE
. re . .
I hereby certify that, on this 40 day of August 2018, a copy of the foregoing Motion to
Compel Fink and Carney’s Compliance with Subpoena and Court Order and Request for Fees and
Costs and Proposed Order was e-mailed to:

Jane B. Jacobs, Esquire

Javier Diaz, Esquire

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Kaitlan M. Skrainar
